                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


 DEREK HEFLEY, individually and on behalf                    Case No.:
 of all others similarly situated,
                                                             CLASS ACTION COMPLAINT
                           Plaintiff,
                                                             DEMAND FOR JURY TRIAL
                    -v-

 JOHNSON CONTROLS INC.,

                           Defendant.



       1.      Plaintiff Derek Hefley (“Plaintiff”) brings this Class Action Complaint

(“Complaint”) on behalf of Plaintiff and all others similarly situated against Defendant Johnson

Controls Inc. (“Defendant”) for failure to properly secure and safeguard Plaintiff’s and Class

members’ personally identifiable information (“PII”) stored within Defendant’s information

network and alleges as follows based upon information and belief, and the investigation of counsel,

except as to the allegations specifically pertaining to Plaintiff, which are based on personal

knowledge.

                                    NATURE OF THE CASE

       2.      Entities that handle sensitive PII owe a duty to the individuals to whom that data

relates. This duty arises because it is foreseeable that the exposure of PII to unauthorized persons—

especially hackers with nefarious intentions — will result in harm to the affected individuals,

including, but not limited to, the invasion of their private financial matters.

       3.      The harm resulting from a breach of private data manifests in a number of ways,

including identity theft and financial fraud. The exposure of a person’s PII through a data breach

ensures that such person will be at a substantially increased and certainly impending risk of identity




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theft crimes compared to the rest of the population, potentially for the rest of their lives. Mitigating

that risk—to the extent it is even possible to do so—requires individuals to devote significant time

and money to closely monitor their credit, financial accounts, health records, and email accounts,

and to take a number of additional prophylactic measures.

          4.     Defendant knowingly obtains sensitive employee and business associate PII and

has a resulting duty to securely maintain such information in confidence.

          5.     As discussed in more detail below, Defendant breached its duty to protect the

sensitive PII entrusted to it.

          6.     As such, Plaintiff brings this Class action on behalf of himself and all other

individuals whose PII was accessed and taken by unauthorized third parties during a data breach

of the Defendant’s system from February 1, 2023 through September 30, 2023, which was

announced when Defendant began providing notices on or about July 4, 2025 (“Data Breach”).

          7.     Upon information ana belief, the Data Breach impacted millions of individuals, and

involved unauthorized access to internal business systems, including a file repository.

          8.     The data exposed in the Data Breach included “personal information provided to

Defendant during the course of employment, contract work, while applying for a job, or through

other interactions with Johnson Controls and its affiliates or subsidiaries,” as Defendant reported. 1

          9.     As a direct and proximate result of Defendant’s inadequate data security, and its

breach of its duty to handle PII with reasonable care, Plaintiff’s PII was taken by hackers, posted

on the dark web, and exposed to an untold number of unauthorized individuals.

          10.    Plaintiff is now at a significantly increased and certainly impending risk of fraud,

identity theft, misappropriation of health insurance benefits, intrusion of his privacy, and similar



1
    See https://faq.jci.com/english-us (last accessed July 15, 2025).
                                                   2
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forms of criminal mischief, and such risk may last for the rest of Plaintiff’s life. Consequently,

Plaintiff must devote substantially more time, money, and energy to protect himself, to the extent

possible, from these crimes.

          11.    Plaintiff, on behalf of himself and others similarly situated, brings claims for

negligence, negligence per se, breach of fiduciary duty, breach of an implied contract, unjust

enrichment, and declaratory judgment, seeking actual and punitive damages, with attorneys’ fees,

costs, and expenses, and appropriate injunctive and declaratory relief.

          12.    To recover from Defendant for their sustained, ongoing, and future harms, Plaintiff

and Class members seek damages in an amount to be determined at trial, declaratory judgment,

and injunctive relief requiring Defendant to: 1) disclose, expeditiously, the full nature of the Data

Breach and the types of PII accessed, obtained, or exposed by the hackers; 2) implement improved

data security practices to reasonably guard against future breaches of PII possessed by Defendant;

3) provide, at Defendant’s own expense, all impacted victims with lifetime identity theft protection

services; 4) disclose whether a ransom was paid to the hackers and if so, the amount thereof.

                                              PARTIES

          13.    Plaintiff Derek Hefley (“Hefley”) is an adult individual and, at all relevant times

herein, has been a resident and citizen of Oklahoma City, Oklahoma, where he intends to remain.

          14.    Defendant Johnson Controls Inc. (“JCI”) is a leader in engineering, manufacturing

and servicing of building products and systems, including commercial HVAC equipment,

industrial refrigeration systems, controls, security systems, fire detection systems and fire-

suppression solutions. Entities under the JCI corporate umbrella include Tyco or Sensormatic

Solutions.2



2
    See https://faq.jci.com/english-us (last accessed July 15, 2025).
                                                   3
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                                  JURISDICTION AND VENUE

          15.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2). The

amount in controversy in this Class action exceeds $5,000,000, exclusive of interest and costs, and

there are over 100 members of the putative Class. Putative Class members include citizens of

states other than Wisconsin, including Plaintiff, who is a citizen of the State of Oklahoma.

          16.   This Court has personal jurisdiction over Defendant as it has substantial contacts

with this District, transacts business in this District, and is headquartered in Milwaukee, Wisconsin,

which is in this District.

          17.   Venue is proper in this District under 28 U.S.C. §1391(b) because Defendant is

deemed to reside in this District because it is subject to the Court’s personal jurisdiction with

respect to this action and because a substantial part of the events giving rise to the claims asserted

herein occurred in this District, and Defendant regularly conducts business in this District.

                                   FACTUAL BACKGROUND

A.        Defendant and the Services it Provides

          18.   Defendant receives and handles PII, including personal information provided to

Defendant during the course of employment, contract work, while applying for a job, or through

other interactions with JCI and its affiliates or subsidiaries.

          19.   Plaintiff was a JCI employee from 2006 through 2009 and entrusted his information

to Defendant with the reasonable expectation and mutual understanding that Defendant would

comply with its obligations to keep such information confidential and secure from unauthorized

access.




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       20.     By obtaining, collecting, and storing Plaintiff’s PII, Defendant assumed legal and

equitable duties and knew or should have known that it was responsible for protecting Plaintiff’s

PII from unauthorized disclosure.

       21.     Upon information and belief, Defendant funds its data security measures from

general revenue, including payments made by or on behalf of Plaintiff and the Class members, and

revenue generated by the labor and services of Defendant’s employees and former employees,

including Plaintiff.

B.     Defendant Knew the Risks of Storing Valuable PII and the Foreseeable Harm

       22.     At all relevant times, Defendant knew it was storing sensitive PII and that, as a

result, its systems would be an attractive target for cybercriminals.

       23.     Defendant also knew that a breach of its systems, and exposure of the information

stored therein, would result in the increased risk of identity theft and fraud against the individuals

whose PII was compromised, as well as intrusion into their highly private information.

       24.     Cyberattacks have become so notorious that the FBI and U.S. Secret Service have

issued a warning to potential targets, so they are aware of, and prepared for, a potential attack.

       25.     For example, in 2024, the number of data compromises in the United States stood

at 3,158 cases, affecting over 1.35 billion individuals. 3

       26.     The type and breadth of data compromised in the Data Breach makes the

information particularly valuable to thieves and leaves Defendant’s current and former employees

and business associates especially vulnerable to identity theft, tax fraud, medical fraud, credit, and

bank fraud, and more.




3
  See https://www.statista.com/statistics/273550/data-breaches-recorded-in-the-united-states-by-
number-of-breaches-and-records-exposed/ (last accessed June 20, 2025).
                                                   5
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       27.      PII is a valuable property right 4 and its value is measurable. American companies

are estimated to have spent over $19 billion on acquiring personal data of consumers in 2018. 5 It

is so valuable to identity thieves that once PII has been disclosed, criminals often trade it on the

“cyber black-market,” or the “dark web,” for many years.

       28.      As a result of their real value and the recent large-scale data breaches, identity

thieves and cybercriminals have openly posted credit card numbers, Social Security numbers, PII,

and other sensitive information directly on various Internet websites, making the information

publicly available. This information from various breaches, including the information exposed in

the Data Breach, can be aggregated, and becomes more valuable to thieves and more damaging to

victims.

       29.      According to the U.S. Government Accountability Office, which conducted a study

regarding data breaches: “[I]n some cases, stolen data may be held for up to a year or more before

being used to commit identity theft. Further, once stolen data has been sold or posted on the [Dark]

Web, fraudulent use of that information may continue for years. As a result, studies that attempt to

measure the harm resulting from data breaches cannot necessarily rule out all future harm.” 6

       30.      Even if stolen PII does not include financial or payment card account information,

that does not mean there has been no harm or that the breach does not cause a substantial risk of

identity theft. Freshly stolen information can be used with success against victims in specifically

targeted efforts to commit identity theft known as social engineering or spear phishing. In these



4
  See https://www.researchgate.net/publication/283668023_The_Value_of_Personal_Data (“The
value of [personal] information is well understood by marketers who try to collect as much data
about personal conducts and preferences as possible”) (last accessed July 15, 2025).
5
  See https://www.iab.com/news/2018-state-of-data-report/ (last accessed July 15, 2025).
6
  See United States Government Accountability Office, Report to Congressional Requesters,
Personal Information, June 2007: https://www.gao.gov/new.items/d07737.pdf (last accessed July
15, 2025).
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forms of attack, the criminal uses the previously obtained PII about the individual, such as name,

address, email address, and affiliations, to gain trust and increase the likelihood that a victim will

be deceived into providing the criminal with additional information.

       31.     Based on the value of its employees’ and business associates’ PII to cybercriminals

and cybercriminals’ propensity to target businesses, Defendant certainly knew the foreseeable risk

of failing to implement adequate cybersecurity measures.

C.     Defendant Breached its Duty to Protect its Current and Former Employees’ and

       Business Associates’ PII.

       32.     JCI first became aware of, and responded to, the Data Breach on September 24,

2023, and disclosed the Data Breach in SEC filings on September 27, 2023, November 13, 2023,

and December 14, 2023. 7

       33.     Plaintiff received in the mail a notice dated July 4, 2025, a copy of which is attached

hereto as Exhibit 1.

       34.     The Notice states:

       Given the nature and complexity of the data involved, Johnson Controls has been
       working diligently with a dedicated review team including internal and external
       experts to conduct a detailed analysis of the data that was taken from Johnson
       Controls’ network. Based on this data analysis, we believe that the unauthorized
       actor took information about you including your name and date of birth, address,
       phone number, Social Security number, national identification number, employee
       identification number, employment benefits and compensation information,
       information related to employment or work for Johnson Controls, performance
       evaluation information, demographic information, and trade union or works council
       membership information.


7
 See https://otp.tools.investis.com/clients/us/johnson_controls1/SEC/sec-
show.aspx?Type=html&FilingId=16953602&CIK=0000833444&Index=10000;
https://otp.tools.investis.com/clients/us/johnson_controls1/SEC/sec-
show.aspx?Type=html&FilingId=17052232&Cik=0000833444; and
https://otp.tools.investis.com/clients/us/johnson_controls1/SEC/sec-
show.aspx?Type=html&FilingId=17119904&CIK=0000833444&Index=10000 (last accessed
July 15, 2025).
                                                  7
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See Exhibit 1.

        35.        The Data Breach occurred as a direct result of Defendant’s failure to implement and

follow basic security procedures to protect its current and former employees’ and business

associates’ PII.

        36.        The injury from the Data Breach is worsened due to Defendant’s extremely belated

disclosure – occurring years after the Data Breach.

D.      FTC Guidelines Prohibit Defendant from Engaging in Unfair or Deceptive Acts or
        Practices

        37.        Defendant is prohibited by the Federal Trade Commission Act, 15 U.S.C. § 45

(“FTC Act”) from engaging in “unfair or deceptive acts or practices in or affecting commerce.”

The Federal Trade Commission (“FTC”) has concluded that a company’s failure to maintain

reasonable and appropriate data security for sensitive personal information is an “unfair practice”

in violation of the FTC Act.

        38.        The FTC has promulgated numerous guides for businesses that highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision-making.

        39.        The FTC provided cybersecurity guidelines for businesses, advising that businesses

should protect personal customer information, properly dispose of personal information that is no

longer needed, encrypt information stored on networks, understand their network’s vulnerabilities,

and implement policies to correct any security problems. 8

        40.        The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to private data; require complex passwords



8
  See https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-
business (last accessed July 15, 2025).
                                                    8
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to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures. 9

          41.    The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect data, treating the failure to employ reasonable and appropriate

measures to protect against unauthorized access to confidential data as an unfair act or practice

prohibited by Section 5 of the FTC Act. Orders resulting from these actions further clarify the

measures businesses must take to meet their data security obligations.

          42.    Defendant failed to properly implement basic data security practices.

          43.    Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to PII constitutes an unfair act or practice prohibited by Section 5 of

the FTC Act.

          44.    Defendant was at all times fully aware of its obligations to protect current and

former employees’ and business associates’ PII. Defendant was also aware of the significant

repercussions that would result from its failure to do so.

E.        Cyberattacks and Data Breaches Cause Disruption and Put Individuals at an
          Increased Risk of Fraud and Identity Theft

          45.    Cyberattacks and data breaches at companies that store PII are especially

problematic because they can negatively impact on the overall daily lives of individuals affected

by the attack.




9
    Id.
                                                  9
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         46.     The United States Government Accountability Office released a report in 2007

regarding data breaches (“GAO Report”) in which it noted that victims of identity theft will face

“substantial costs and time to repair the damage to their good name and credit record.” 10

         47.     That is because any victim of a data breach is exposed to serious ramifications

regardless of the nature of the data. Indeed, the reason criminals steal personally identifiable

information is to monetize it. They do this by selling the spoils of their cyberattacks on the black

market to identity thieves who desire to extort and harass victims, and to take over victims’

identities in order to engage in illegal financial transactions under the victims’ names. Because a

person’s identity is akin to a puzzle, the more accurate pieces of data an identity thief obtains about

a person, the easier it is for the thief to take on the victim’s identity or otherwise harass or track

the victim. For example, armed with just a name and date of birth, a data thief can utilize a hacking

technique referred to as “social engineering” to obtain even more information about a victim’s

identity, such as a person’s login credentials or Social Security number. Social engineering is a

form of hacking whereby a data thief uses previously acquired information to manipulate

individuals into disclosing additional confidential or personal information through means such as

spam phone calls and text messages or phishing emails.

         48.     Theft of PII is serious. The FTC warns consumers that identity thieves use PII to

exhaust financial accounts, receive medical treatment, open new utility accounts, and incur charges

and credit in a person’s name.

         49.     The FTC recommends that identity theft victims take several steps to protect their

personal and financial information after a data breach, including contacting one of the credit

bureaus to place a fraud alert (and consider an extended fraud alert that lasts for 7 years if someone



10
     See https://www.gao.gov/products/gao-07-737 (last accessed June 20, 2025).
                                                 10
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steals their identity), reviewing their credit reports, contacting companies to remove fraudulent

charges from their accounts, placing freezes on their credit, and correcting their credit reports. 11

          50.     Identity thieves use stolen personal information such as Social Security numbers

for a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance fraud.

Personal information is valuable to identity thieves, and if they can get access to it, they will use

it to among other things: open a new credit card or loan, change a billing address so the victim no

longer receives bills, open new utilities, obtain a mobile phone, open a bank account and write bad

checks, use a debit card number to withdraw funds, obtain a new driver’s license or ID, and/or use

the victim’s information in the event of arrest or court action.

          51.     Identity thieves can also use the victim’s name and Social Security number to obtain

government benefits; or file a fraudulent tax return using the victim’s information. In addition,

identity thieves may obtain a job using the victim’s Social Security number, and/or rent a house or

receive medical services in the victim’s name.

          52.     Moreover, theft of PII is also gravely serious because PII is an extremely valuable

property right.

          53.     Drug manufacturers, medical device manufacturers, pharmacies, hospitals, and

other healthcare service providers often purchase PII on the black market for the purpose of target-

marketing their products and services to the physical maladies of data breach victims themselves.

          54.     Each year, identity theft causes tens of billions of dollars of losses to victims in the

United States. For example, with the PII stolen in the Data Breach, which includes Social Security

numbers, identity thieves can open financial accounts, commit medical fraud, apply for credit, file

fraudulent tax returns, commit crimes, create false driver’s licenses and other forms of



11
     See https://www.identitytheft.gov/Steps (last accessed June 20, 2025).
                                                    11
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identification and sell them to other criminals or undocumented immigrants, steal government

benefits, give breach victims’ names to police during arrests, and many other harmful forms of

identity theft. These criminal activities have and will result in devastating financial and personal

losses to Plaintiff.

        55.     As discussed above, PII is such a valuable commodity to identity thieves, and once

the information has been compromised, criminals often trade the information on the “cyber black-

market” for years.

        56.     Social Security numbers are particularly sensitive pieces of personal information.

For instance, with a stolen Social Security number, which is only one subset of the PII

compromised in the Data Breach, someone can open financial accounts, get medical care, file

fraudulent tax returns, commit crimes, and steal benefits. Identity thieves can use an individual’s

Social Security number to apply for additional credit lines. Such fraud may be undetected until

debt collection calls commence months, or even years later. Stolen Social Security numbers also

make it possible for thieves to file fraudulent tax returns, file for unemployment benefits, or apply

for a job using a false identity. Each of these fraudulent activities is difficult to detect. An individual

may not know that his or her Social Security number was used to file for unemployment benefits

until law enforcement notifies the individual’s employer of the suspected fraud. Fraudulent tax

returns are typically discovered only when an individual’s authentic tax return is rejected because

one was already filed on their behalf.

        57.     An individual cannot obtain a new Social Security number without significant

paperwork and evidence of actual misuse. Even then, a new Social Security number may not be

effective, as the credit bureaus and banks are able to link the new number very quickly to the old

number, so all of that old bad information is quickly inherited into the new Social Security number.



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       58.     This was a financially motivated Data Breach, as the only reason the cybercriminals

go through the trouble of running a targeted cyberattack against companies like Defendant is to

get information that they can monetize by selling on the black market for use in the kinds of

criminal activity described herein. This data demands a much higher price on the black market.

       59.     Fraud and identity theft resulting from the Data Breach may go undetected until

debt collection calls commence months, or even years later. As with income tax returns, an

individual may not know that his or her Social Security number was used to file for unemployment

benefits until law enforcement notified the individual’s employer of the suspected fraud.

       60.     Cybercriminals can post stolen PII on the cyber black-market for years following a

data breach, thereby making such information publicly available. Identity theft victims must spend

countless hours and large amounts of money repairing the impact to their credit as well as

protecting themselves in the future.

       61.     It is within this context that Plaintiff must now live with the knowledge that

Plaintiff’s PII is forever in cyberspace and was taken by people willing to use the information for

any number of improper purposes and scams, including making the information available for sale

on the black market.

       62.     Plaintiff must now take the time and effort (and spend the money) to mitigate the

actual and potential impact of the Data Breach on Plaintiff’s everyday life, including purchasing

identity theft and credit monitoring services every year for the rest of Plaintiff’s life, placing

“freezes” and “alerts” with credit reporting agencies, contacting his financial institutions and

healthcare providers, closing or modifying financial accounts, and closely reviewing and

monitoring bank accounts, credit reports, and health insurance account information for

unauthorized activity for years to come.



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        63.        Moreover, Plaintiff and Class members have an interest in ensuring that their PII,

which remains in the possession of Defendant, is protected from further public disclosure by the

implementation of better employee training and industry standard and statutorily compliant

security measures and safeguards. Defendant has shown itself to be wholly incapable of protecting

Plaintiff’s PII.

        64.        Plaintiff and Class members also have an interest in ensuring that their personal

information that was provided to Defendant is removed from Defendant’s files.

F.      Plaintiff and the Class Suffered Damages

Facts Relevant to Plaintiff

        65.        Plaintiff is a former employee of Defendant.

        66.        Plaintiff was employed at JCI from 2006 through 2009.

        67.        As a condition of his employment with Defendant, he was required to provide his

PII to Defendant.

        68.        Defendant retained Plaintiff’s PII in its systems at the time of the Data Breach.

        69.        Plaintiff received the Notice, as detailed supra and annexed as Exhibit 1.

        70.        As a result, Plaintiff was injured by Defendant’s Data Breach.

        71.        In requesting and maintaining Plaintiff’s PII for business purposes, Defendant

expressly and impliedly promised, and undertook a duty, to act reasonably in its handling of

Plaintiff’s and Class members’ PII. Defendant did not, however, take proper care of Plaintiff’s and

Class members’ PII, leading to their exposure to and exfiltration by cybercriminals as a direct result

of Defendant’s inadequate security measures.

        72.        Moreover, Defendant failed to notify Plaintiff of the impact to his data – and indeed,

failed to timely provide notice to the putative Class – until years after the Data Breach.



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       73.     Upon receiving the Notice, Plaintiff spent time reviewing his credit reports,

reviewing various credit alerts received by text and email, checking his financial information, and

dealing with increased spam text messages and emails.

       74.     Plaintiff suffered a theft of thousands of dollars from his bank account in March of

2025 which, upon information and belief, was accessed by use of his PII, which may include

password and login information and other data relevant for a hacker to access his bank account

and steal thousands of dollars, including his and payroll or banking information. Plaintiff has also

begun to receive scam texts and emails on a regular basis since the Data Breach occurred.

       75.     Plaintiff has also suffered imminent and impending injury arising from the present

and ongoing risk of fraud, identity theft, and misuse resulting from his PII being placed in the

hands of unauthorized third parties and possibly criminals. Plaintiff suffered lost time, annoyance,

interference, and inconvenience because of the Data Breach.

       76.     Plaintiff has experienced anxiety and increased concerns arising from the fact that

his PII has been or will be misused and from the loss of his privacy. The risk is not hypothetical,

as cybercriminals intentionally stole the data, misused it, threatened to publish, or have published

it on the Dark Web, and the sensitive information, including names and Social Security numbers,

which is the type of PII used to perpetrate identity theft or fraud.

       77.     Plaintiff further suffered actual injury in the form of damages to and diminution in

the value of his PII—a form of intangible property that he entrusted to Defendant, which was

compromised in and because of the Data Breach.

       78.     Future identity theft monitoring is reasonable and necessary, and such services will

include future costs and expenses.




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        79.     Plaintiff has a continuing interest in ensuring that his PII, which remains in

Defendant’s possession, is protected and safeguarded from future breaches.

Plaintiff’s And Class Members’ Damages

        80.     For the reasons mentioned above, Defendant’s conduct, which allowed the Data

Breach to occur, caused Plaintiff and Class members significant injuries and harm in several ways.

Plaintiff and Class members must immediately devote time, energy, and money to: 1) closely

monitor their medical statements, bills, records, and credit and financial accounts; 2) change login

and password information on any sensitive account even more frequently than they already do; 3)

more carefully screen and scrutinize phone calls, emails, and other communications to ensure that

they are not being targeted in a social engineering or spear phishing attack; and 4) search for

suitable identity theft protection and credit monitoring services, and pay to procure them. Plaintiff

and Class members have taken or will be forced to take these measures in order to mitigate their

potential damages as a result of the Data Breach.

        81.     Once PII is exposed, there is little that can be done to ensure that the exposed

information has been fully recovered or obtained against future misuse. For this reason, Plaintiff

and Class members will need to maintain these heightened measures for years, and possibly their

entire lives as a result of Defendant’s misconduct.

        82.     As a result of Defendant’s failures, Plaintiff and Class members are also at

substantial and certainly impending increased risk of suffering identity theft and fraud or misuse

of their PII.

        83.     Plaintiff is also at a continued risk because Plaintiff’s information remains in

Defendant’s computer systems, which have already been shown to be susceptible to compromise

and attack and are subject to further attacks so long as Defendant fails to undertake the necessary



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and appropriate security and training measures to protect employees’, former employees’, and

business associates’ PII.

       84.     In addition, Plaintiff and Class members have suffered emotional distress as a result

of the Data Breach, the increased risk of identity theft and financial fraud, and the unauthorized

exposure of their PII to strangers.

                                      CLASS ALLEGATIONS

       85.     Plaintiff brings all counts, as set forth below, individually and as a Class action,

pursuant to the provisions of the Fed. R. Civ. P. 23, on behalf of a Class defined as: All individuals

residing in the United States whose PII was compromised in the Data Breach affecting

Defendant in September 2023, including all those individuals who received notice of the Data

Breach (“Class”).

       86.     Excluded from the Class are Defendant, its subsidiaries and affiliates, officers and

directors, any entity in which Defendant has a controlling interest, the legal representative, heirs,

successors, or assigns of any such excluded party, the judicial officer(s) to whom this action is

assigned, and the members of their immediate families.

       87.     This proposed Class definition is based on the information available to Plaintiff at

this time. Plaintiff may modify the Class definition in an amended pleading or when he moves for

Class certification, as necessary to account for any newly learned or changed facts as the situation

develops and discovery gets underway.

       88.     Numerosity – Fed. R. Civ. P. 23(a)(1): Plaintiff is informed and believes, and

thereon alleges, that there are at minimum, over a thousand members of the Class described above.

The exact size of the Class and the identities of the individual members are identifiable through

Defendant’s records, including but not limited to the files implicated in the Data Breach.



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       89.    Commonality – Fed. R. Civ. P. 23(a)(2): This action involves questions of law and

fact common to the Class. Such common questions include, but are not limited to:

                  a. Whether Defendant has a duty to protect Plaintiff’s and Class members’ PII;

                  b. Whether Defendant was negligent in collecting and storing Plaintiff’s and

                      Class members’ PII, and breached its duties thereby;

                  c. Whether Defendant breached its fiduciary duty to Plaintiff and the Class;

                  d. Whether Defendant breached its duty of confidence to Plaintiff and the

                      Class;

                  e. Whether Defendant violated its own Privacy Practices;

                  f. Whether Defendant entered a contract implied in fact with Plaintiff and the

                      Class;

                  g. Whether Defendant breached that contract by failing to adequately

                      safeguard Plaintiff’s and Class members’ PII;

                  h. Whether Defendant was unjustly enriched;

                  i. Whether Plaintiff and Class members are entitled to damages as a result of

                      Defendant’s wrongful conduct; and

                  j. Whether Plaintiff and Class members are entitled to restitution as a result of

                      Defendant’s wrongful conduct.

       90.    Typicality – Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of the claims of

the members of the Class. The claims of the Plaintiff and members of the Class are based on the

same legal theories and arise from the same unlawful and willful conduct. Plaintiff and members

of the Class all had information stored in Defendant’s system(s), each having their PII exposed

and/or accessed by an unauthorized third party.



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       91.     Adequacy of Representation – Fed. R. Civ. P. 23(a)(3): Plaintiff is an adequate

representative of the Class because his interests do not conflict with the interests of the other Class

members Plaintiff seeks to represent; Plaintiff has retained counsel competent and experienced in

complex Class action litigation; Plaintiff intends to prosecute this action vigorously; and Plaintiff’s

counsel has adequate financial means to vigorously pursue this action and ensure the interests of

the Class will not be harmed. Furthermore, the interests of the Class members will be fairly and

adequately protected and represented by Plaintiff and Plaintiff’s counsel.

       92.     Injunctive Relief – Fed. R. Civ. P. 23(b)(2): Defendant has acted and/or refused to

act on grounds that apply generally to the Class therefore making injunctive and/or declarative

relief appropriate with respect to the Class under 23(b)(2).

       93.     Superiority – Fed. R. Civ. P. 23(b)(3): A Class action is superior to other available

methods for the fair and efficient adjudication of the controversy. Class treatment of common

questions of law and fact is superior to multiple individual actions or piecemeal litigation. Absent

a Class action, most Class members would likely find that the cost of litigating their individual

claims is prohibitively high and would therefore have no effective remedy. The prosecution of

separate actions by individual Class members would create a risk of inconsistent or varying

adjudications with respect to individual Class members, which would establish incompatible

standards of conduct for Defendant. In contrast, the conduct of this action as a Class action presents

far fewer management difficulties, conserves judicial resources and the parties’ resources, and

protects the rights of each Class member.

       94.     Defendant has acted on grounds that apply generally to the Class as a whole, so that

Class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

Class-wide basis.



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          95.   Likewise, particular issues are appropriate for certification because such claims

present only particular, common issues, the resolution of which would advance the disposition of

this matter and the parties’ interests therein. Such particular issues include, but are not limited to:

                   a. Whether Defendant failed to timely and adequately notify the public of the

                       Data Breach;

                   b. Whether Defendant owed a legal duty to Plaintiff and the Class to exercise

                       due care in collecting, storing, and safeguarding their PII;

                   c. Whether Defendant’s security measures to protect its data systems were

                       reasonable in light of best practices recommended by data security experts;

                   d. Whether Defendant’s failure to institute adequate protective security

                       measures amounted to negligence;

                   e. Whether Defendant failed to take commercially reasonable steps to

                       safeguard employees’, former employees’ and business associates’ PII; and

                   f. Whether adherence to FTC data security recommendations, and measures

                       recommended by data security experts would have reasonably prevented the

                       Data Breach.

          96.   Finally, all members of the proposed Class are readily ascertainable. Defendant has

access to Class members’ names and addresses affected by the Data Breach.


                                   FIRST CAUSE OF ACTION
                                        NEGLIGENCE

          97.   Plaintiff restates and realleges the preceding allegations above as if fully alleged

herein.

          98.   Plaintiff brings this claim individually and on behalf of the Class.



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       99.     Defendant owed a duty to Plaintiff and Class members to exercise reasonable care

in safeguarding and protecting their PII in its possession, custody, and control.

       100.    Defendant’s duty to use reasonable care arose from several sources, including but

not limited to those described below.

       101.    Defendant has a common law duty to prevent foreseeable harm to others. This duty

existed because Plaintiff and Class members were the foreseeable and probable victims of any

inadequate security practices on the part of the Defendant. By collecting and storing valuable PII

that is routinely targeted by criminals for unauthorized access, Defendant was obligated to act with

reasonable care to protect against these foreseeable threats.

       102.    Defendant breached the duties owed to Plaintiff and Class members and thus was

negligent. As a result of a successful attack directed towards Defendant that compromised

Plaintiff’s and Class members’ PII, Defendant breached its duties through the following errors and

omissions that allowed the Data Breach to occur:

                   a. mismanaging its system and failing to identify reasonably foreseeable

                       internal and external risks to the security, confidentiality, and integrity of

                       employee and business associate information that resulted in the

                       unauthorized access and compromise of PII;

                   b. failing to timely notify affected Class members;

                   c. mishandling its data security by failing to assess the sufficiency of its

                       safeguards in place to control these risks;

                   d. failing to design and implement information safeguards to control these

                       risks;




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                  e. failing to adequately test and monitor the effectiveness of the safeguards’

                      key controls, systems, and procedures;

                  f. failing to evaluate and adjust its information security program in light of the

                      circumstances alleged herein;

                  g. failing to detect the breach at the time it began or within a reasonable time

                      thereafter;

                  h. failing to follow its own privacy policies and; and

                  i. failing to adequately train and supervise employees and third-party vendors

                      with access or credentials to systems and databases containing sensitive PII.

       103.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and Class members, their PII would not have been compromised.

       104.    As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

members have suffered injuries, including, but not limited to:

                  a. Theft of their PII;

                  b. Costs associated with the detection and prevention of identity theft and

                      unauthorized use of their PII;

                  c. Costs associated with purchasing credit monitoring and identity theft

                      protection services;

                  d. Lowered credit scores resulting from credit inquiries following fraudulent

                      activities;

                  e. Costs associated with time spent and the loss of productivity from taking

                      time to address and attempt to ameliorate, mitigate, and deal with the actual

                      and future consequences of the Data Breach – including finding fraudulent



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                      charges, cancelling and reissuing cards, enrolling in credit monitoring and

                      identity theft protection services, freezing and unfreezing accounts, and

                      imposing withdrawal and purchase limits on compromised accounts;

                   f. The imminent and certainly impending injury flowing from the increased

                      risk of potential fraud and identity theft posed by their PII being placed in

                      the hands of criminals;

                   g. Damages to and diminution in value of their PII entrusted, directly or

                      indirectly, to Defendant with the mutual understanding that Defendant

                      would safeguard Plaintiff’s and Class members’ data against theft and not

                      allow access and misuse of their data by others;

                   h. Continued risk of exposure to hackers and thieves of their PII, which

                      remains in Defendant’ possession and is subject to further breaches so long

                      as Defendant fails to undertake appropriate and adequate measures to

                      protect Plaintiff’s and Class members’ data;

                   i. Unauthorized bank account access and theft of funds;

                   j. Phishing email and text scams; and

                   k. Emotional distress from the unauthorized disclosure of PII to strangers who

                      likely have nefarious intentions and now have prime opportunities to

                      commit identity theft, fraud, and other types of attacks on Plaintiff and Class

                      members.

       105.    As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

members are entitled to damages, including compensatory, punitive, and/or nominal damages, in

an amount to be proven at trial.



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                                  SECOND CAUSE OF ACTION
                                    NEGLIGENCE PER SE

          106.   Plaintiff restates and realleges the preceding allegations above as if fully alleged

herein.

          107.   Plaintiff brings this claim individually and on behalf of the Class.

          108.   Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce”

including, as interpreted and enforced by the FTC, the unfair act or practice by entities such as

Defendant for failing to use reasonable measures to protect PII. Various FTC publications and

orders also form the basis of Defendant’ duty to protect Plaintiff’s and the Class members’ sensitive

PII.

          109.   Defendant breached its duties to Plaintiff and Class members under Section 5 of the

FTC Act by failing to use reasonable measures to protect PII and not complying with the industry

standards. Defendant’s conduct was particularly unreasonable given the nature and amount of PII

it obtained and stored and the foreseeable consequences of a data breach involving PII of its

employees, former employees and business associates.

          110.   Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se.

          111.   The harm that has occurred as a result of Defendant’s conduct is the type of harm

that the FTC Act and Part 2 was intended to guard against.

          112.   As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

members have been injured as described herein, and are entitled to damages, including

compensatory, punitive, and nominal damages, in an amount to be proven at trial.




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                                  THIRD CAUSE OF ACTION
                                BREACH OF FIDUCIARY DUTY

          113.   Plaintiff restates and realleges the preceding allegations above as if fully alleged

herein.

          114.   Plaintiff brings this claim individually and on behalf of the Class.

          115.   Plaintiff and Class members have an interest, both equitable and legal, in the PII

about them that was conveyed to, collected by, and maintained by Defendant and that was

ultimately accessed or compromised in the Data Breach.

          116.   As a recipient of employees’, former employees’, and business associates’ PII,

Defendant has a fiduciary relationship to Plaintiff and the Class members.

          117.   Because of that fiduciary relationship, Defendant was provided with and stored

private and valuable PII related to Plaintiff and the Class. Plaintiff and the Class were entitled to

expect their information would remain confidential while in Defendant’s possession.

          118.   Defendant owed a fiduciary duty under common law to Plaintiff and Class members

to exercise the utmost care in obtaining, retaining, securing, safeguarding, deleting, and protecting

their PII in Defendant’s possession from being compromised, lost, stolen, accessed, and misused

by unauthorized persons.

          119.   As a result of the parties’ fiduciary relationship, Defendant had an obligation to

maintain the confidentiality of the information within Plaintiff’s and the Class members’ records.

          120.   Defendant had possession and knowledge of confidential PII of Plaintiff and Class

members, information not generally known.

          121.   Plaintiff and Class members did not consent to nor authorize Defendant to release

or disclose their PII to unknown criminal actors.




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       122.    Defendant breached its fiduciary duties owed to Plaintiff and Class members by,

among other things: mismanaging its system and failing to identify reasonably foreseeable internal

and external risks to the security, confidentiality, and integrity of employee information that

resulted in the unauthorized access and compromise of PII; mishandling its data security by failing

to assess the sufficiency of its safeguards in place to control these risks; failing to design and

implement information safeguards to control these risks; failing to adequately test and monitor the

effectiveness of the safeguards’ key controls, systems, and procedures; failing to evaluate and

adjust its information security program in light of the circumstances alleged herein; failing to

detect the breach at the time it began or within a reasonable time thereafter; failing to follow its

own privacy policies and practices; and failing to adequately train and supervise employees and

third-party vendors with access or credentials to systems and databases containing sensitive PII.

       123.    But for Defendant’s wrongful breach of its fiduciary duties owed to Plaintiff and

Class members, their PII would not have been compromised.

       124.    As a direct and proximate result of Defendant’s breach of fiduciary duty, Plaintiff

and Class members have suffered injuries, including:

                   a. Theft of their PII;

                   b. Costs associated with the detection and prevention of identity theft and

                       unauthorized use of their PII;

                   c. Costs associated with purchasing credit monitoring and identity theft

                       protection services;

                   d. Lowered credit scores resulting from credit inquiries following fraudulent

                       activities;




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        e. Costs associated with time spent and the loss of productivity from taking

           time to address and attempt to ameliorate, mitigate, and deal with the actual

           and future consequences of the Data Breach – including finding fraudulent

           charges, cancelling and reissuing cards, enrolling in credit monitoring and

           identity theft protection services, freezing and unfreezing accounts, and

           imposing withdrawal and purchase limits on compromised accounts;

        f. The imminent and certainly impending injury flowing from the increased

           risk of potential fraud and identity theft posed by their PII being placed in

           the hands of criminals;

        g. Damages to and diminution in value of their PII entrusted, directly or

           indirectly, to with the mutual understanding that Defendant would safeguard

           Plaintiff’s and Class members’ data against theft and not allow access and

           misuse of their data by others;

        h. Continued risk of exposure to hackers and thieves of their PII, which

           remains in Defendant’s possession and is subject to further breaches so long

           as Defendant fails to undertake appropriate and adequate measures to

           protect Plaintiff’s and Class members’ data; and

        i. Emotional distress from the unauthorized disclosure of PII to strangers who

           likely have nefarious intentions and now have prime opportunities to

           commit identity theft, fraud, and other types of attacks on Plaintiff and Class

           members.




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          125.   As a direct and proximate result of Defendant’s breach of its fiduciary duties,

Plaintiff and Class members are entitled to damages, including compensatory, punitive, and/or

nominal damages, in an amount to be proven at trial.


                                  FOURTH CAUSE OF ACTION
                                    UNJUST ENRICHMENT

          126.   Plaintiff restates and realleges the preceding allegations above as if fully alleged

herein.

          127.   Plaintiff brings this claim individually and on behalf of the Class.

          128.   Upon information and belief, Defendant funds its data security measures entirely

from general revenue, including payments made by or on behalf of Plaintiff and the Class members

to Defendant, and from revenue generated by their labor and employment services for members of

the Class that are employees or former employees.

          129.   As such, a portion of the payments made by or on behalf of Plaintiff sand the Class

members is to be used to provide a reasonable level of data security, and the amount of the portion

of each payment made that is allocated to data security is known to Defendant.

          130.   Plaintiff and Class members conferred a benefit on Defendant by their employment

and/or otherwise performing work for Defendant.

          131.   In exchange, Plaintiff and Class members should receive from Defendant the

consideration of adequate protection in the subject of the transaction of their employment and

consumption and have their PII/PHI protected with adequate data security.

          132.   Defendant knew that Plaintiff and Class members conferred a benefit which

Defendant accepted. Defendant profited from these transactions and used the PII of Plaintiff and

Class members for business purposes.



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       133.    In particular, Defendant enriched itself by saving the costs it reasonably should

have expended on data security measures to secure Plaintiff’s and Class members’ PII. Instead of

providing a reasonable level of security that would have prevented the Data Breach, Defendant

instead calculated to increase its own profits at the expense of Plaintiff and Class members by

utilizing cheaper, ineffective security measures. Plaintiff and Class members, on the other hand,

suffered as a direct and proximate result of Defendant’s decision to prioritize profits over security.

       134.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money belonging to Plaintiff and Class members, because Defendant failed

to implement appropriate data management and security measures that are mandated by common

law and statutory duties.

       135.    Defendant failed to secure Plaintiff and Class members’ PII and, therefore, did not

provide full consideration for the benefit Plaintiff and Class members provided.

       136.    Defendant acquired the PII through inequitable means in that it failed to disclose

the inadequate security practices previously alleged.

       137.    If Plaintiff and Class members knew that Defendant had not reasonably secured

their PII, they would not have agreed to have their information provided to Defendant.

       138.    Plaintiff and Class members have no adequate remedy at law.

       139.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

members have suffered injuries, including, but not limited to:

                   a. Theft of their PII;

                   b. Costs associated with purchasing credit monitoring and identity theft

                       protection services;




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        c. Costs associated with the detection and prevention of identity theft and

           unauthorized use of their PII;

        d. Lowered credit scores resulting from credit inquiries following fraudulent

           activities;

        e. Costs associated with time spent and the loss of productivity from taking

           time to address and attempt to ameliorate, mitigate, and deal with the actual

           and future consequences of the Data Breach – including finding fraudulent

           charges, cancelling and reissuing cards, enrolling in credit monitoring and

           identity theft protection services, freezing and unfreezing accounts, and

           imposing withdrawal and purchase limits on compromised accounts;

        f. The imminent and certainly impending injury flowing from the increased

           risk of potential fraud and identity theft posed by their PII being placed in

           the hands of criminals;

        g. Damages to and diminution in value of their PII entrusted, directly or

           indirectly, to Defendant with the mutual understanding that Defendant

           would safeguard Plaintiff’s and Class members’ data against theft and not

           allow access and misuse of their data by others;

        h. Continued risk of exposure to hackers and thieves of their PII, which

           remains in Defendant’s possession and is subject to further breaches so long

           as Defendant fails to undertake appropriate and adequate measures to

           protect Plaintiff’s and Class members’ data; and

        i. Emotional distress from the unauthorized disclosure of PII to strangers who

           likely have nefarious intentions and now have prime opportunities to



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                        commit identity theft, fraud, and other types of attacks on Plaintiff and Class

                        members.

          140.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

members have suffered and will continue to suffer other forms of injury and/or harm.

          141.   Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class members, proceeds that it unjustly received from them

in their employment with Defendant and/or consumption of Defendant’s products and services.


                                   FIFTH CAUSE OF ACTION
                                  DECLARATORY JUDGMENT

          142.   Plaintiff restates and realleges the preceding allegations above as if fully alleged

herein.

          143.   Plaintiff brings this claim individually and on behalf of the Class.

          144.   Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and granting

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal statutes described in this Complaint.

          145.   An actual controversy has arisen in the wake of the Data Breach regarding

Defendant’s present and prospective common law and other duties to reasonably safeguard

Plaintiff’s and Class members’ PII, and whether Defendant is currently maintaining data security

measures adequate to protect Plaintiff and Class members from future data breaches that

compromise their PII. Plaintiff and the Class remain at imminent risk that additional compromises

of their PII will occur in the future.




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       146.    The Court should also issue prospective injunctive relief requiring Defendant to

employ adequate security practices consistent with law and industry standards to protect

employees’ PII.

       147.    Defendant still possesses Plaintiff’s and Class members’ PII.

       148.    Defendant has made no announcement that it has changed its data storage or

security practices relating to the storage of Plaintiff’s and Class members’ PII in a manner that

details that the measures have adequately addressed the underlying weakness in Defendant’s

systems targeted by the criminal hackers in the Data Breach.

       149.    To Plaintiff’s knowledge, Defendant has made no announcement or notification that

it has remedied the vulnerabilities and negligent data security practices that led to the Data Breach.

       150.    If an injunction is not issued, Plaintiff and the Class will suffer irreparable injury

and lack an adequate legal remedy in the event of another data breach of Defendant’s networks.

The risk of another such breach is real, immediate, and substantial.

       151.    The hardship to Plaintiff and Class members if an injunction does not issue exceeds

the hardship to Defendant if an injunction is issued. Among other things, if another data breach

occurs in Defendant’s systems, Plaintiff and Class members will likely continue to be subjected to

a heightened, substantial, imminent risk of fraud, identify theft, and other harms described herein.

On the other hand, the cost to Defendant of complying with an injunction by employing reasonable

prospective data security measures is relatively minimal, and Defendant has a pre-existing legal

obligation to employ such measures.

       152.    Issuance of the requested injunction will not compromise the public interest. On the

contrary, such an injunction would benefit the public by preventing another data breach in




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Defendant’s systems, thus eliminating the additional injuries that would result to Plaintiff and Class

members, along with other employees whose PII would be further compromised.

        153.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment ordering Defendant to implement and maintain reasonable security measures,

including but not limited to the following:

                     a. Engaging third-party security auditors/penetration testers, as well as

                        internal security personnel, to conduct testing that includes simulated

                        attacks, penetration tests, and audits on Defendant’s systems on a periodic

                        basis, and ordering Defendant to promptly correct any problems or issues

                        detected by such third-party security auditors;

                     b. Engaging third-party security auditors and internal personnel to run

                        automated security monitoring;

                     c. Auditing, testing, and training its security personnel regarding any new or

                        modified procedures;

                     d. Purging, deleting, and destroying PII not necessary for its provisions of

                        services in a reasonably secure manner;

                     e. Conducting regular database scans and security checks; and

                     f. Routinely and continually conducting internal training and education to

                        inform internal security personnel how to identify and contain a breach

                        when it occurs and what to do in response to a breach.

                                     DEMAND FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, demands

relief as follows:



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   a) For an Order certifying this action as a Class action and appointing Plaintiff as a

       Class Representative and his counsel as Class Counsel;

   b) For equitable relief enjoining Defendant from engaging in the wrongful conduct

       complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and

       Class members’ PII, and from refusing to issue prompt, complete and accurate

       disclosures to Plaintiff and Class members;

   c) For equitable relief compelling Defendant to utilize appropriate methods and

       policies with respect to consumer and employee data collection, storage, and safety,

       and to disclose with specificity the type of PII compromised during the Data

       Breach;

   d) For equitable relief requiring restitution and disgorgement of the revenues

       wrongfully retained as a result of Defendant’ wrongful conduct;

   e) Ordering Defendant to pay for lifetime credit monitoring services for Plaintiff and

       the Class;

   f) For an award of actual damages, compensatory damages, statutory damages, and

       statutory penalties, in an amount to be determined, as allowable by law;

   g) For an award of punitive damages, as allowable by law;

   h) For an award of attorneys’ fees and costs, and any other expense, including expert

       witness fees;

   i) Pre- and post-judgment interest on any amounts awarded; and,

   j) Such other and further relief as this court may deem just and proper.


                           JURY TRIAL DEMANDED

Plaintiff demands a jury trial on all claims so triable.

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                                    /s/ Electronically signed by Patrick J. Schott
                                    Patrick J. Schott
                                    State Bar ID #: 1001913
                                    SCHOTT BUBLITZ & ENGEL S.C.
                                    640 W. Moreland Blvd.
                                    Waukesha, Wisconsin 53188
                                    Telephone: (262) 827-8920
                                    pschott@sbe-law.com

                                    Rachele R. Byrd (pro hac vice forthcoming)
                                    WOLF HALDENSTEIN ADLER
                                    FREEMAN & HERTZ LLP
                                    750 B Street, Suite 1820,
                                    San Diego, CA 92101
                                    Telephone: 619-239-4599
                                    byrd@whafh.com

                                    James F. Woods (pro hac vice forthcoming)
                                    Annie E. Causey (pro hac vice forthcoming)
                                    WOODS LONERGAN PLLC
                                    One Grand Central Place
                                    60 East 42nd St., Suite 1410
                                    New York, NY 10165
                                    Telephone: 212-684-2500
                                    jwoods@woodslaw.com
                                    acausey@woodslaw.com

                                    Jon Tostrud (pro hac vice forthcoming)
                                    Anthony Carter (pro hac vice forthcoming)
                                    TOSTRUD LAW GROUP, PC
                                    1925 Century Park East, Suite 2100
                                    Los Angeles, CA 90067
                                    Telephone: 310-278-2600
                                    Facsimile: 310-278-2640
                                    jtostrud@tostrudlaw.com
                                    acarter@tostrudlaw.com

                                    Attorneys for Plaintiff




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